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        Exhibit B
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
CHRISTOPHER GODSON,
on behalf of himself
and all others similarly situated
                              Plaintiffs,
               vs.                                                    Civil Action No. 11-CV-764

ELTMAN, ELTMAN & COOPER, P.C., and                                    CLASS ACTION
LVNV FUNDING, LLC,

                        Defendants.
__________________________________________



                       TIME RECORDS FOR SETH J. ANDREWS


Time Entry
Christopher Godson v. Eltman, Eltman & Cooper et al.
Index No. 11-CV-764

DATE          ACTIVITY                                                             TIME
11/9/11       Rec’d corr from Opp regarding extension for time to
              File answer; drafted corr in response to request for extension       .2

11/10/11      Review stipulation to ext Def time to answer                         .1

11/15/11      Tcw opp re: Def inquiry early settlement, case posture               .2

12/12/11      Rec’d corr from opp re: inquiry to settle. Review Def Answer.
              Telephone conf w/ client re: status update                           .4

1/2/12        Tcw client re: status update- motion to strike answer                .3

1/17/12       Drafted corr to opp re: proposed CMO and selection of mediator       .2

1//27/12      Rec’d corr from opp re: proposed CMO                                 .1

1/30/12       Rec’d corr from opp re: edit to CMO. Drafted response                .1
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DATE        ACTIVITY                                                           TIME

1/31/12     Rec’d corr from opp re: filing of CMO. Drafted response            .1

2/17/12     Reviewed Def 26a1 disclosures                                      .2

3/28/12     Mediation prep with client and BB                                  1.0

3/30/12     Attend mediation with client                                       8.0 +5

3/25/12     Tcw client re: status update for motion to certify class           .2

5/17/12     Mediation prep w/ client for follow up session                     1.0

5/18/12     Attend follow up mediation                                         8.0 +5

6/13/12     Telephone call w/ BB re issues concerning First Set of Written      .2
            Discovery Demands

7/3/12      Rec’d corr from op re: discovery schedule relative to class cert
            Motion                                                             .1

7/5/12      Rec’d corr from opp re: scheduling Plaintiff’s deposition          .1

7/5/18      Tcw co-counsel, BB, re: dates for Plaintiff’s deposition           .2

7/5/18      Tcw client re: scheduling Plaintiff deposition                     .2

7/6/12      Review opp motion to stay briefing on class cert motion and to
            Seek limited discovery                                             .2

7/9/12      Deposition prep w/ client, BB                                      2.0

7/17/12     Rec’d and reviewed Def response to discovery demands               .3

7/18/12     Defend Plaintiff’s deposition                                      2.0

7/24/12     Rec’d and review Plaintiff’s deposition transcript                 .5

8/13/12     Tcw co-counsel, BB, re: opposition to class cert motion            .7

8/29/12     Drafted Aff in support of Plaintiff’s Reply for Motion for Class
            Counsel and to certify the class                                   .6
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9/11/12     Rec’d Reviewed Ct Order granting motion to strike; Tcw
            Client re: status update                                           .3

9/25/12     Rec’d reviewed Def amended ans. Tcw client re: status report and
            Motion to compel                                                 .2


DATE        ACTIVITY                                                           TIME

10/29/12    Rec’d corr from opp re: request for ext to opp motion to compel.
            Rec’d amd reviewed Defendant’s discovery demands                   .3

11/7/12     Rec’d corr from opp re: response to vm requesting consent
            for modification scheduling order for discovery deadline
            Drafted motion to amend scheduling order and w/ aff                .5

11/27/12    Drafted responses to Def discovery demands; met w/ client to
            Review and confirm responses.                                      2.0

4/4/13      Tcw client re: status update                                       .2

8/23/13     Tcw client re: status update                                       .2

9/11/13     Rec’d review Ct Order granting motion to compel. Tcw client
            Re: status update                                                  .2

10-5-13     Tcw re: motion for sanctions                                       .3

10-18-13    Rec’d and review Def LVNV SJM; tcw client re: status update        .3

12-9-13     Tcw client re: status update for motion to ext deadline to
            complete discovery                                                 .2

1-10-14     Tcw client re: status update for 2nd motion to compel and
            for sanctions                                                      .2

2-7-14      Rec’d and Review Def motion to bifurcate                           .2

5-14-14     Tcw client re: status update re: pending motions                   .1

9-15-14     Rec’d &review Ct order denying and granting sanctions, granting
            Ext for discovery deadline, granting and denying motion to compel
            Denying motion to bifurcate.                                      .2

9-16-14     Tcw client re: status update for Ct order for 9-15-14              .4
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DATE        ACTIVITY                                                            TIME

10-10-14    Tcw w/ client re: motion for reconsideration for motions relative
            to 9-15-14 order                                                    .2

10-24-14    Tcw client re: status update for 3rd motion for sanctions           .1

4-1-15      Tcw client re: status of pending motions                            .2

8-2-15      Tcw client re: status of pending motions                            .2

9-30-15     Rec’d and review Ct order granting and denying motion for
            Sanctions and reconsideration                                       .2

10-2-15     Tcw client re: status update for 9-30-15 Ct oder                    .2

10-9-15     Tcw co-counsel BB, JRM re case status & settlement                  .5

10-30-15    Tcw client re: status update for def motion to ext to complete
            Discovery                                                           .1

11-13-15    Drfated motion to ext Plaintiff deadline for fee petition           .3

12-22-15    Rec’d and reviewed ct order affirming magistrate order
            of 9-30-15                                                          .1

12-28-15    Tcw client re: status update for Ct order of 12-22-15               .2

2-1-16      Tcw client re: status update for 4th motion for sanctions           .1

4-15-16     Rec’d reviewed Ct order granting and denying 4th motion
            Sanctions                                                           .1

4-18-16     Tcw client re: status update for Ct order 4-15-16                   .2

5-26-16     Tcw client re: status update for 5th motion for sanctions           .1

10-3-16     Tcw client re: status of pending sanction and protective order
            Motions                                                             .1

1-8-17      Tcw co-counsel BB, JM re: discovery/deposition                      .4

1-9-17      Rec’d and review ct oRder granting def motion for protective order
            And denying 5th motion for sanctions                               .1

1-10-17     Tcw client re: status update for 1-9-17 Ct order                    .1
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DATE          ACTIVITY                                                        TIME

5-29-17       Tcw client re: status update for motion for discovery ext       .1

10-13-17      Tcw client re: Ct ordered mediation 11-7-17                     .3

11-1-17       Drafted mediation memo for mediator                             2.0

11-6-17       Mediation prep w/ client & BB                                   1.0

11-7-17       Attended Ct ordered mediation                                   7.0

4-2-18        Drafted aff in support of jt motion for prelim class approval
              Settlement and appointment of counsel                           .5

5-21-18       Tcw client re: Ct order granting approval class settlement      .2


                                                                              Total-47.6


47.6 Hours Total for Seth J. Andrews (SJA)
x $300/hr
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$14,280.00
